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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 SOLAS OLED LTD.,                                §
                                                 §
               Plaintiff,                        §
                                                 §
 v.                                              §   CIVIL ACTION NO. 2:19-CV-00152-JRG
                                                 §
 SAMSUNG DISPLAY CO., LTD.,                      §
 SAMSUNG ELECTRONICS CO., LTD.,                  §
 SAMSUNG ELECTRONICS AMERICA,                    §
 INC.,                                           §

               Defendants.

                                           ORDER

       Before the Court is Plaintiff Solas OLED Ltd. (“Solas”) and Defendants Samsung Display

Co., Ltd., Samsung Electronics Co., Ltd., and Samsung Electronics America, Inc.’s (collectively,

“Samsung”) Joint Motion for Leave to Depose Witness After the Expert Discovery Deadline and

to Amend the Docket Control Order (the “Motion”). (Dkt. No. 201). In the Motion, the Parties

request leave to take the deposition of Dr. Adam Fontecchio by or before August 26, 2020 and to

correspondingly amend the Docket Control Order.

       Having considered the Motion, the Court is of the opinion that the Motion should be and

hereby is GRANTED AS MODIFIED. It is ORDERED that the Parties complete Dr. Adam

Fontecchio’s deposition no later than August 26, 2020. It is further ORDERED that the Docket

Control Order be amended as follows:

 Original Deadline               New Deadline                    Event

 August 14, 2020                 August 26, 2020                 Complete deposition of Dr.
                                                                 Adam Fontecchio
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       It is further ORDERED that the briefing schedule for Daubert motions, if any, regarding

Dr. Fontecchio’s testimony is as follows:
     .
                      Event                                    Date
 Daubert Motions Regarding Dr. Fontecchio’s August 31, 2020 by 5:00 pm CT
 Testimony
 Response to Daubert Motions Regarding Dr. September 3, 2020 by 5:00 pm CT
 Fontecchio’s Testimony


       It is further ORDERED that the Parties shall not submit replies or sur-replies for

Daubert motions, if any, regarding Dr. Fontecchio’s testimony, without prior leave of Court.


       So ORDERED and SIGNED this 18th day of August, 2020.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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